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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                            No. CR 10-3093 JB

CARMEN CARRASCO,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Sentencing Memorandum, filed

February 20, 2012 (Doc. 562). The Court held a sentencing hearing on March 26, 2012. The

primary issue is whether the Court should depart or vary downward to a sentence of 60-months

imprisonment. The Court will grant the request in the Sentencing Memorandum and will sentence

Defendant Carmen Carrasco to a 60-month sentence.

                               PROCEDURAL BACKGROUND

       On November 10, 2010, a federal Grand Jury returned a seven-count Indictment charging

twenty-three people, including Carrasco, with, among other things, conspiracy to possess with intent

to distribute 5 kilograms and more of cocaine, contrary to 21 U.S.C. § 841(a)(1), and (b)(1)(A), and

with possession with intent to distribute over 500 grams of cocaine in violation of 21 U.S.C.

§§ 841(a)(1) and (b)(1)(B). See Doc. 2. On July 20, 2012, Carrasco pled guilty to: (i) a lesser

included offense of Count I, a violation of 21 U.S.C. § 846, that being conspiracy to possess with

intent to distribute 500 grams and more of a mixture and substance containing a detectable amount

of cocaine; and (ii) Count 2, a violation of 21 U.S.C. § 842(a)(1) and (b)(1)(B), possession with

intent to distribute 500 grams and more of cocaine and 18 U.S.C. § 2, aiding and abetting. See Plea
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Agreement ¶ 3, at 2, filed July 20, 2011 (Doc. 497). The parties stipulate that Carrasco is

responsible for between 2 and 3.5 kilograms of cocaine. See Plea Agreement ¶ 9(a), at 4. The

parties also agree that Carrasco has demonstrated acceptance of responsibility, pursuant to U.S.S.G.

§ 3E1.1(a), and that, so long as she meets the requirements, Plaintiff United States of America will

move for an additional 1-level reduction, pursuant to U.S.S.G. § 3E1.1(b). See Plea Agreement

¶ 9(b)-(c), at 4-5. The parties agree that Carrasco played neither an aggravating nor a mitigating role

in the offense. See Plea Agreement ¶ 9(d), at 5. Carrasco waived her right to appeal the conviction

and any sentence under the maximum statutory penalty. See Plea Agreement ¶ 13, at 6.

       On February 2, 2012, the United States Probation Office (“USPO”) issued a Presentence

Investigation Report (“PSR”) on Carrasco. The Counts to which Carrasco pled guilty are grouped

on the basis of total quantity of the substance involved, pursuant to U.S.S.G. § 3D1.2(d). See PSR

¶ 92, at 30. The USPO calculates a base offense level of 28, pursuant to U.S.S.G. § 2D1.1(c)(6),

based on information demonstrating that Carrasco is accountable for between 2 and 3.5 kilograms

of cocaine. See PSR ¶ 93, at 30-31. The USPO also agrees with the stipulation in the Plea

Agreement that Carrasco played neither an aggravating nor mitigating role in the offense. See PSR

¶ 96, at 31. The USPO then applies a 3-level reduction pursuant to U.S.S.G. § 3E1.1. See PSR ¶ 99,

at 31. Carrasco has a total offense level of 25. See PSR ¶ 100, at 31. Based on 2 criminal history

points, the USPO calculates that Carrasco has a criminal history category of II. See PSR ¶ 105, at

33. The USPO notes that, as to each of the counts, there is a statutory minimum of five years or 60-

months imprisonment. See PSR ¶ 135, at 41. A total offense level of 25 and a criminal history

category of II, establishes a guideline imprisonment range of 63 to 78 months. On February 13,

2012, the USPO provided an Addendum to the PSR, which identifies Carrasco’s work as a

seamstress at the Dona Ana County Detention Center as a potential ground for a downward

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departure, pursuant to U.S.S.G. § 5H1.11.

       On February 20, 2012, Carrasco filed her Sentencing Memorandum. See Doc. 562.

Carrasco requests a sentence of 60-months imprisonment, the statutory minimum. See Sentencing

Memorandum at 1. She argues that, pursuant to U.S.S.G. § 5H1.11, the Court should depart

downward 3 months because of her extraordinary charitable or public service. See Sentencing

Memorandum ¶ 4, at 1. She notes that she has saved the taxpayers over $52,000.00 in seamstress

services and that such work justifies a 1-level departure to a guideline range which would permit

a 60-month sentence. See Sentencing Memorandum ¶ 4, at 1-2. As an alternative, Carrasco argues

that the Court could also vary to a 60-month sentence based on her seamstress services and

“impressive efforts to rehabilitate herself since her arrest.” Sentencing Memorandum ¶ 5, at 2. On

March 23, 2012, the United States filed the United States’ Response to Defendant’s Sentencing

Memorandum. See Doc. 565 (“Response”). The United States asserts that Carrasco has saved the

Dona Ana County Detention Center approximately $52,000.00 and that, while other detainees were

allowed the opportunity to do the same volunteer work, none of those who took the opportunity

worked as efficiently or accurately as Carrasco. See Response at 2. Based on this information the

United States has no objection to a 3-month downward departure. See Response at 2. It agrees that

Carrasco’s contributions are out of the ordinary and exceed the efforts that defendants typically

make. See Response at 2.

       On March 26, 2012, the Court held a sentencing hearing. At the hearing, the Court found

that Carrasco’s efforts fall outside the heartland of activities that defendants perform in prison. See

Transcript of Hearing at 2:19-24 (March 26, 2012)(Court)(“Tr.”).1 The Court also granted the


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        The Court’s citations to the transcripts of the hearing refer to the court reporter’s original,
unedited version. Any final transcripts may contain slightly different page and/or line numbers.

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United States’ motion for a 1-level reduction, pursuant to U.S.S.G. § 3E1.1(b). See Tr. at 2:25-3:6

(Court, Lilley). Carrasco stated that all the parties agree that a 60-month sentence is appropriate.

See Tr. at 3:10-14 (Lilley). She asserted that she has taken seven courses at the detention center to

further her education and that she wishes to participate in the 500-hour drug program to get her life

back on track. See Tr. at 3:15-4:2 (Lilley). The United States asserted that a 60-month sentence is

sufficient, but not greater than necessary, under the circumstances of this case. See Tr. at 5:10-13

(Davenport).

                                           ANALYSIS

       The Court will grant the request for a 3-month downward departure and a sentence of 60-

months imprisonment. U.S.S.G. § 5H1.11 provides that “[c]ivic, charitable, or public service;

employment-related contributions; and similar good works are not ordinarily relevant in determining

whether a departure is warranted.” A district court may, however, depart downward on the basis

of such a discouraged factor if “the factor is present to an exceptional degree or in some other way

makes the case different from the ordinary case where the factor is present.” United States v.

Collins, 122 F.3d 1297, 1302 (10th Cir. 1997). Carrasco’s work at the detention center is beyond

what the Court would ordinarily expect from a defendant volunteering in prison. She has saved New

Mexico taxpayers approximately $52,000.00, and her work exceeded the work of other volunteers

in both quality and time committed. See Response at 2. While ordinarily such volunteer work does

not entitle a defendant to a downward departure, here the United States and USPO agree that the

Court should depart downward 3 months or the equivalent of 1 offense level. The Court finds that

Carrasco’s public service falls outside the heartland of cases and that her efforts went above and

beyond what a defendant would typically contribute as a volunteer. The Court finds that the money

she has saved the taxpayers is extraordinary, and the Court will depart downward 3 months.

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Accordingly, the Court will grant the request in the Sentencing Memorandum and will sentence

Carrasco to 60-months imprisonment.

       IT IS ORDERED that Court will grant the request in the Defendant’s Sentencing

Memorandum, filed February 20, 2012 (Doc. 562). The Court will depart downward 3 months and

will sentence Defendant Carmen Carrasco to 60-months imprisonment.


                                                        ________________________________
                                                        UNITED STATES DISTRICT JUDGE


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